
27 N.Y.2d 627 (1970)
Sam Wasserstein, Appellant,
v.
State of New York, Respondent. (Claim No. 45244.)
Court of Appeals of the State of New York.
Argued May 25, 1970.
Decided June 15, 1970.
John R. Davison, Barnett Schiff and Louis Weil for appellant.
Louis J. Lefkowitz, Attorney-General (Jeremiah Jochnowitz and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITAL and JASEN. Taking no part: Judge GIBSON.
Order affirmed, without costs; no opinion.
